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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )               8:14CR155
                     Plaintiff,                )
                                               )
       vs.                                     )                 ORDER
                                               )
DOROTEO MANUEL PONCE and                       )
DANIEL MURATELLA,                              )
                                               )
                     Defendants.               )


       This matter is before the court on the oral motion of the government and the
defendants for additional time to complete discovery and file pretrial motions. The motion
was made during the arraignment on the Third Superseding Indictment on February 11,
2015. Ponce and Muratella acknowledged the additional time needed for the motion would
be excluded under the calculations under the Speedy Trial Act. The oral motion was
granted.


       IT IS ORDERED:
       1.     Discovery in accordance with the progression order shall be completed by
March 6, 2015. The parties shall have to on or before March 31, 2015, in which to file
pretrial motions in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from February 11, 2015, and March 31,
2015, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 11th day of February, 2015.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
